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                                                                              12/9/2020
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 8                           UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,  )                      Case No.: CR 77-01047-CJC
                                )
12                              )
             Plaintiff,         )
13                              )
         v.                     )
14                              )
                                )
15   JOSE GUADALUPE VALENZUELA, )                      ORDER DENYING DEFENDANT’S
                                )                      MOTION FOR RESENTENCING
16                              )                      [Dkt. 90]
             Defendant.         )
17                              )
                                )
18                              )
                                )
19                              )
                                )
20                              )
                                )
21                              )
22

23   I. INTRODUCTION & BACKGROUND
24

25         In 1977, Defendant Jose Guadalupe Valenzuela was convicted of one count of
26   conspiracy to distribute heroin in violation of 21 U.S.C. § 846, seven counts related to
27   heroin trafficking in violation of 21 U.S.C. § 841(a)(1), and one count for operating a
28   continuing criminal enterprise in violation of 21 U.S.C. § 848. Defendant and his brother

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 1   directed the Valenzuela family organization, which was “one of the major sources of
 2   Mexican heroin in the United States.” United States v. Valenzuela, 596 F.2d 1361, 1362
 3   (9th Cir. 1979).
 4

 5         Judge Robert J. Kelleher sentenced Defendant to consecutive 15-year sentences on
 6   each of counts one through four (the conspiracy count and three trafficking counts) for a
 7   total of 60 years’ imprisonment. (See Dkt. 89.) Defendant was similarly sentenced to
 8   consecutive 15-year sentences on each of counts five through eight (the remaining
 9   trafficking counts) for a total of 60 years’ imprisonment, which would run concurrently
10   with the 60-year sentence on counts one through four. (See id.) Finally, on count nine
11   for continuing criminal enterprise, Defendant was sentenced to life imprisonment without
12   possibility of parole, which would run concurrently with the other sentences. (See id.)
13

14         In 1997, Defendant filed a 28 U.S.C. § 2255 motion for relief from his sentence.
15   (Dkt. 31.) The Court granted his motion in part. It vacated his conspiracy conviction
16   because it was a lesser-included offense of continuing criminal enterprise, but the Court
17   declined to vacate Defendant’s conviction for continuing criminal enterprise. (Dkt. 49);
18   United States v. Valenzuela, 225 F.3d 665, at *1 (9th Cir. 2000) (unpublished). The
19   Ninth Circuit affirmed. It explained that Defendant’s conviction for continuing criminal
20   enterprise remained valid because conspiracy could serve as a predicate offense for
21   continuing criminal enterprise even though it is a lesser included offense of that crime.
22   Valenzuela, 225 F.3d 665, at *1. The Court’s docket does not reveal whether Judge
23   Kelleher entered an amended order of judgment and sentence following the vacatur of
24   Defendant’s conspiracy conviction.
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 1            Now before the Court is Defendant’s motion for resentencing. (Dkt. 90.) For the
 2   following reasons, Plaintiff’s motion is DENIED.1
 3

 4   II. DISCUSSION
 5

 6            Defendant argues that he is entitled to resentencing now because he was never
 7   resentenced after the Court vacated his conviction for conspiracy in 1997. The Court
 8   disagrees.
 9

10            Courts “construe[] the multiple sentences given a defendant convicted of more than
11   one count of a multiple count indictment as ‘a package.’” United States v. Handa, 122
12   F.3d 690, 692 (9th Cir. 1997). When part of a defendant’s sentence “is set aside as
13   illegal, the package is ‘unbundled,’” and “the district court is free to put together a new
14   package reflecting its considered judgment as to the punishment the defendant deserves
15   for the crimes of which he is still convicted.” Id. While district courts are free to conduct
16   a full resentencing on all remaining counts of conviction, they are not required to do so.
17   Troiano v. United States, 918 F.3d 1082, 1087 (9th Cir. 2019) (“[T]he decision to
18   conduct a full resentencing on all remaining counts of conviction when one or more
19   counts of a multi-count conviction are undone [] rests within the sound discretion of the
20   district court.”).
21

22            For example, in Troiano, the defendant was convicted of four counts related to his
23   robbery of a convenience store. Id. at 1084. Counts one and two were grouped together
24   while counts three and four remained separate. Id. The defendant was sentenced to 24
25   years’ imprisonment. Id. at 1085. The sentencing court later reduced Defendant’s
26   sentence on count four because the career-criminal sentencing enhancement no longer
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28     Having read and considered the papers presented by the parties, the Court finds this matter appropriate
     for disposition without a hearing. See Fed. R. Crim. P. 57(b).
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 1   applied to him following the Supreme Court’s decision in Johnson v. United States, 576
 2   U.S. 591 (2015). Troiano, 918 F.3d at 1085. However, the sentencing court declined to
 3   conduct a full resentencing because the defendant’s “overall sentence of 24 years
 4   remained unchanged.” Id. His “17-year sentences on Counts 1 and 2 and his 7-year
 5   consecutive sentence on Count 3 were not altered.” Id. The Ninth Circuit affirmed—
 6   holding that the sentencing court was within its discretion in declining to conduct a full
 7   resentencing because “[t]here [wa]s simply no reason to conclude . . . that [reducing the
 8   sentence] on Count 4 had any impact on the sentences for the unaffected counts.” Id. at
 9   1086–88.
10

11         Similarly here, the Court’s vacatur of Defendant’s conspiracy conviction has no
12   impact on his overall sentence. Defendant was sentenced to life imprisonment on his
13   charge for continuing criminal enterprise. That charge was not grouped with Defendant’s
14   conspiracy charge and Defendant does not argue that his life sentence for continuing
15   criminal enterprise is invalid. Indeed, the Ninth Circuit has already concluded that
16   Defendant’s life sentence for continuing criminal enterprise “will remain the same
17   whatever the resolution of the other sentences might be.” United States v. Valenzuela,
18   596 F.2d 1361, 1365 (9th Cir. 1979). Because the vacatur of Defendant’s conspiracy
19   conviction has no impact on his overall sentence, the Court was not required to conduct a
20   full resentencing as Defendant suggests. See Troiano, 918 F.3d at 1087–88.
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 1   III. CONCLUSION
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 3        For the foregoing reasons, Defendant’s motion for resentencing is DENIED.
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 5    DATED: December 9, 2020
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 7
                                            HON. CORMAC J. CARNEY
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 9                                      UNITED STATES DISTRICT JUDGE
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